Case 3:16-cv-03044-L-KSC Document 5 Filed 02/14/17 PageID.102 Page 1 of 3


 1   LEVI & KORSINSKY LLP
     Adam C. McCall (SBN 302130)
 2
     Email: amccall@zlk.com
 3   445 South Figueroa Street, 31st Floor
     Los Angeles, CA 90071
 4
     Tel: (213) 985-7290
 5
 6   -and-

 7   NICHOLAS I. PORRITT (DC:457601; NY)
 8   Email: nporritt@zlk.com
     ADAM M. APTON (DC:1017720; NY)
 9   Email: aapton@zlk.com
10   1101 30th Street NW, Suite 115
     Washington, DC 20007
11   Tel: (202) 524-4290
12   Fax: (202) 333-2121
     (pro hac vice to be submitted)
13
14   Attorneys for Movant Natissisa Enterprise Ltd.

15                        UNITED STATES DISTRICT COURT
16                     SOUTHERN DISTRICT OF CALIFORNIA

17   YI FAN CHEN, and FRONTLINE                 No. 3:16-cv-03044-L-MDD
     GLOBAL TRADING PTE. LTD.,
18   Individually and on Behalf of All
19   Others Similarly Situated,                 NOTICE OF MOTION AND
                                                MOTION OF NATISSISA
20                             Plaintiffs,      ENTERPRISES LTD. FOR
21             v.                               CONSOLIDATION OF THE
                                                ACTIONS, APPOINTMENT AS
22   ILLUMINA, INC., FRANCIS A.                 LEAD PLAINTIFF, AND
23   DESOUZA, and MARC A.                       APPROVAL OF SELECTION OF
     STAPLEY,                                   COUNSEL
24
25                              Defendants.
26
27
28
Case 3:16-cv-03044-L-KSC Document 5 Filed 02/14/17 PageID.103 Page 2 of 3


 1   JAMES MCLEOD, Individually and on
     Behalf of All Others Similarly Situated,       No. 3:17-cv-00053-L-MDD
 2
 3                                Plaintiff,        Date: March 20, 2017
              vs.
 4                                                  NO ORAL ARGUMENT
 5   ILLUMINA, INC., FRANCIS A.                     PURSUANT TO LOCAL RULES
     DESOUZA, and MARC A. STAPLEY,
 6                                                  Courtroom: 5B (5th Fl. – Schwartz)
 7                                Defendants.       Judge: M. James Lorenz

 8
 9       TO THE CLERK OF THE COURT AND ALL PARTIES AND
     THEIR COUNSEL OF RECORD:
10
           PLEASE TAKE NOTICE that on March 20, 2017 or as soon thereafter as
11
     the matter can be heard in the courtroom of the Honorable M. James Lorenz, situated
12
     at 221 West Broadway, San Diego, CA 92101, Movant (“Movant”), by and through
13
     its counsel, will and hereby does move this Court, pursuant to Section 21D(a)(3)(B)
14
     of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78u-
15
     4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of 1995 (the
16
     “PSLRA”), for an Order: (i) consolidating the above-captioned actions (ii) appointing
17
     Movant as Lead Plaintiff on behalf of all persons that purchased or otherwise
18
     acquired Illumina, Inc. (“Illumina” or the “Company”) securities; (iii) approving of
19
     Movant’s counsel as Lead Counsel; and (iv) granting such other and further relief as
20
     the Court may deem just and proper. In support of this Motion, Movant submits a
21
     Memorandum of Points and Authorities, the Declaration of Adam C. McCall and
22
     exhibits attached thereto, the pleadings, and other filings herein and such other
23
     written or oral arguments as may be presented to the Court.
24
           This motion is made on the grounds that Movant is the most adequate
25
     plaintiff, as defined by the PSLRA, based on its loss of approximately $
26
     995,212.56, which was suffered as a result of Defendants’ wrongful conduct as
27
     alleged in the above-referenced actions.            Further, Movant satisfies the
28
      NOTICE OF MOTION OF NATISSISA ENTERPRISES LTD FOR CONSOLIDATION OF THE ACTIONS,
           APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
                       Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
                                                2
Case 3:16-cv-03044-L-KSC Document 5 Filed 02/14/17 PageID.104 Page 3 of 3


 1 requirements of Rule 23(a) of the Federal Rules of Civil Procedure, as its claims
 2 are typical of other Class members’ claims and he will fairly and adequately
 3 represent the interests of the class.
 4
 5 Dated: February 14, 2016          Respectfully submitted,
 6
                                     LEVI & KORSINSKY LLP
 7
 8                                   s/ Adam C. McCall
                                     Adam C. McCall (SBN 302130)
 9                                   445 South Figueroa Street, 31st Floor
10                                   Los Angeles, CA 90071
                                     Tel: (213) 985-7290
11                                   Email: amccall@zlk.com
12
13                                   -and-

14                                   Nicholas I. Porritt
15                                   Adam M. Apton
                                     1101 30th Street NW, Suite 115
16                                   Washington, DC 20007
17                                   Tel: (202) 524-4290
                                     Fax: (202) 333-2121
18                                   Email: nporritt@zlk.com
19                                   Email: aapton@zlk.com
                                     (to be admitted pro hac vice)
20
21                                   Attorneys for Movant Natissisa Enterprises Ltd.

22
23
24
25
26
27
28
      NOTICE OF MOTION OF NATISSISA ENTERPRISES LTD FOR CONSOLIDATION OF THE ACTIONS,
           APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
                       Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
                                             3
